

People v Johnson (2022 NY Slip Op 01257)





People v Johnson


2022 NY Slip Op 01257


Decided on February 24, 2022


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: February 24, 2022

Before: Webber, J.P., Kern, Moulton, González, Mendez, JJ.


Ind. No. 1963/17 Appeal No. 15376 Case No. 2019-1022 

[*1]The People of the State of New York, Respondent, 
vTyler Johnson, Defendant-Appellant.


Robert S. Dean, Center for Appellate Litigation, New York (Sarah H. Lin of counsel), for appellant.
Cyrus R. Vance, Jr., District Attorney, New York (Samuel Z. Goldfine of counsel), for respondent.



An appeal having been taken to this Court by the above-named appellant from a judgment of the Supreme Court, New York County (Michael Obus, J.), rendered January 04, 2018,
Said appeal having been argued by counsel for the respective parties, due deliberation having been had thereon, and finding the sentence not excessive,
It is unanimously ordered that the judgment so appealed from be and the same is hereby affirmed.
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: February 24, 2022
Counsel for appellant is referred to
§ 606.5, Rules of the Appellate Division,
First Department.








